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  1   Jay M. Spillane (Bar No. 126364)
      jspillane@spillaneplc.com
  2   SPILLANE LAW GROUP PLC
  3   468 N. Camden Drive
      Second Floor
  4   Beverly Hills, CA 90210
      (424) 217-5980
  5   (888) 590-1683 (fax)
  6   Kevin D. Neal (Az. Bar No. 011640)
      GALLAGHER & KENNEDY, P.A.
  7   2575 East Camelback Road
      Phoenix, Arizona 85016-9225
  8   (602) 530-8000
      (602) 530-8500 (fax)
  9   kevin.neal@gknet.com
 10   Attorneys for Plaintiff ALS Scan, Inc.
 11
 12                       UNITED STATES DISTRICT COURT
 13                     CENTRAL DISTRICT OF CALIFORNIA
 14                                               Case No.: 2:16-cv-05051-GW-AFM
      ALS SCAN, INC., a Maryland
 15   corporation,                                NOTICE OF APPEAL;
 16                                               REPRESENTATION STATEMENT
                  Plaintiff,
 17
 18      vs.
 19
      CLOUDFLARE, INC., a Delaware
 20   corporation, et al.,
 21
                   Defendants.
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                                       Notice of Appeal
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  1         Plaintiff ALS Scan, Inc. hereby appeals to the United States Court of
  2   Appeals for the Ninth Circuit from the “Judgment in Favor of Defendant
  3   Steadfast Networks, LLC” entered April 30, 2018, Doc. 520 (“Judgment”), as
  4   well as all proceedings and interlocutory orders in the action that culminated in
  5   entry of said Judgment. A copy of the Judgment is attached hereto.
  6
  7   DATED: May 10, 2018                     SPILLANE LAW GROUP PLC
                                              GALLAGHER & KENNEDY, P.A.
  8
  9
 10
                                              By: _____________________________
 11                                                       Jay M. Spillane
                                              Attorneys for Plaintiff ALS Scan, Inc.
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                                        Notice of Appeal
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  1                      REPRESENTATION STATEMENT
  2        The Plaintiff/Appellant is:
  3
  4        ALS Scan, Inc.
           3322 Peddicoat Court
  5        Woodstock, MD 21163
  6
  7        Represented by:
  8
           Jay M. Spillane (Bar No. 126364)
  9        jspillane@spillaneplc.com
 10        SPILLANE LAW GROUP PLC
 11        468 N. Camden Drive
           Second Floor
 12        Beverly Hills, CA 90210
 13        (424) 217-5980
           (888) 590-1683 (fax)
 14
 15        Kevin D. Neal (Az. Bar No. 011640)
           GALLAGHER & KENNEDY, P.A.
 16
           2575 East Camelback Road
 17        Phoenix, Arizona 85016-9225
 18        (602) 530-8000
           (602) 530-8500 (fax)
 19        kevin.neal@gknet.com
 20
 21        The Defendant/Appellee is:
 22
 23        Steadfast Networks, LLC
           800 S. Wells Street
 24
           Suite 190
 25        Chicago, IL 60607
 26
 27
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                                         Notice of Appeal
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  1        Represented by:
  2
           JOHN L. AMBROGI
  3        jla@partridgepartnerspc.com
  4        COLIN T.J. O’BRIEN
           colin@partridgepartnerspc.com
  5        PARTRIDGE PARTNERS, P.C.
  6        321 North Clark, Suite 720
           Chicago, Illinois 60654
  7
           Telephone: (312) 634-9500
  8
  9        PAUL D. SUPNIK [SBN 52842]
           paul@supnik.com
 10        9401 Wilshire Blvd., Suite 1250
 11        Beverly Hills, CA 90212
           Telephone: (310) 859-0100
 12        Facsimile: (310) 388-5645
 13
 14   DATED: May 10, 2018                 SPILLANE LAW GROUP PLC
 15                                       GALLAGHER & KENNEDY, P.A.

 16
 17
                                          By: _____________________________
 18                                                   Jay M. Spillane
 19                                       Attorneys for Plaintiff ALS Scan, Inc.
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                                    Notice of Appeal
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
NOTICE OF APPEAL will be served or was served (a) on the judge in chambers in the form and manner required by
Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) May 10, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on the
Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                             Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) May 10, 2018, I served the following persons and/or entities at the last known addresses in this case by placing
a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) May 10, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 5/10/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
